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                                                                          December 3, 2020


Honorable Lynne A. Sitarski, Magistrate Judge
U.S. District Court
U.S. Courthouse
601 Market Street
Philadelphia, PA 19106



         RE:    Tillery v. Eason, et al.
                Civil Action No. 20-2675

Dear Judge Sitarski:

         Enclosed please find a copy of our Motion for Extension of Time to File Response, filed

today.




                                                                  Respectfully submitted,

                                                                  /s/ Samuel H. Ritterman

                                                                  SAMUEL H. RITTERMAN
                                                                  Assistant District Attorney



cc: Major George Tillery, pro se
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,
     Petitioner                            :                         CIVIL ACTION

              v.                           :

KENNETH EASON, et al.,
     Respondents                           :                         NO. 20-2675

                                           ORDER

       AND NOW, this                  day of                                      , 2020, Respondents’

motion for an extension of time to file a response by February 5, 2021, is GRANTED.

                                                  BY THE COURT:



                                                  -----------------------------

                                                  The Honorable Lynne A. Sitarski
                                                  United States Magistrate Judge
          Case 2:20-cv-02675-PBT Document 10 Filed 12/03/20 Page 3 of 4



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,
     Petitioner                                :                      CIVIL ACTION

               v.                              :

KENNETH EASON, et al.,
     Respondents                               :                      NO. 20-2675


                    MOTION FOR ENLARGEMENT OF TIME TO FILE RESPONSE TO
                            PETITION FOR WRIT OF HABEAS CORPUS

       Respondents respectfully request a two-month extension of time, to February 5, 2021, to

file a response to the petition for writ of habeas corpus in the above-captioned matter. This matter

was initially assigned to the undersigned three days before the original due date, necessitating

him to request the first extension of two months to the current due date of December 7, 2020.

During that time, the undersigned had to complete several assignments that included responses

to habeas petitions in federal court, a post-conviction evidentiary hearing in state court, and briefs

in the state appellate court. In the instant matter, the undersigned has reviewed a tremendous

amount of material in this homicide case that involved a two-week trial and has been litigated

several times over the past 36 years. Having reviewed this material, the undersigned desires to

write and submit a meaningful and thorough response to assist this Court, and to that end,

respectfully requests additional time to file a response. This is respondents’ second request for

an extension. The undersigned will endeavor to complete the response as soon as possible, and

does not anticipate requesting any further continuances absent extraordinary circumstances.

       WHEREFORE, Respondents respectfully request that they be granted an extension of

time, to February 5, 2021 to file a response to the petition for writ of habeas corpus.


                                                              Respectfully submitted,

                                                              /s/ Samuel H. Ritterman
                                                              SAMUEL H. RITTERMAN
                                                              Assistant District Attorney
          Case 2:20-cv-02675-PBT Document 10 Filed 12/03/20 Page 4 of 4



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MAJOR GEORGE TILLERY,
     Petitioner                               :                      CIVIL ACTION

               v.                             :

KENNETH EASON, et al.,
     Respondents                              :                      NO. 20-2675




                             CERTIFICATE REGARDING SERVICE


       I, SAMUEL H. RITTERMAN, counsel for Respondents, hereby certify that on December

3, 2020, a copy of the foregoing document was filed on ECF. Due to the COVID-19 pandemic,

the Philadelphia District Attorney’s Office has limited the number of days that its employees work

inside the office. Thus, while the undersigned has immediately provided this document to the

office’s support staff, that staff may not be immediately available to mail it, thereby potentially

causing a delay in the effectuation of service. At the soonest opportunity, Respondents will serve

the document on petitioner via first-class mail at the following address:

Smart Communications/PADOC
Major George Tillery / AM9786
SCI CHESTER
PO Box 33028
St Petersburg, FL 33733




                                                     /s/ Samuel H. Ritterman
                                                     ___________________________
                                                     SAMUEL H. RITTERMAN
                                                     Assistant District Attorney
